Case 5:06-cv-00055-GW-PJW Document 2997 Filed 11/15/21 Page 1 of 11 Page ID
                               #:149714
Case 5:06-cv-00055-GW-PJW Document 2997 Filed 11/15/21 Page 2 of 11 Page ID
                               #:149715
Case 5:06-cv-00055-GW-PJW Document 2997 Filed 11/15/21 Page 3 of 11 Page ID
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Case 5:06-cv-00055-GW-PJW Document 2997 Filed 11/15/21 Page 4 of 11 Page ID
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Case 5:06-cv-00055-GW-PJW Document 2997 Filed 11/15/21 Page 5 of 11 Page ID
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                              ATTACHMENT A
Counsel for Appellants Calleguas Municipal Water District, Palmdale Water
District, South Tahoe Public Utility District, and Relator John Hendrix


ELIZABETH J. SHER
esher@daypitney.com
DAY PITNEY LLP
1 Jefferson Road
Parsippany, New Jersey 07054
Telephone: (973) 966-6300
Facsimile: (973) 966-1015

ERIC R. HAVIAN
ehavian@constantinecannon.com
HARRY P. LITMAN
hlitman@verizon.net
CONSTANTINE CANNON LLP
150 California Street, Suite 1600
San Francisco, California 94111
Telephone: (415) 639-4001
Facsimile: (415) 639-4002

KIRK DILLMAN
kdillman@mckoolsmithhennigan.com
McKOOL SMITH HENNIGAN P.C.
One California Plaza
300 South Grand Avenue, Suite 2900
Los Angeles, CA 90071
Telephone: (213) 694-1200
Facsimile: (213) 694-1234




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Case 5:06-cv-00055-GW-PJW Document 2997 Filed 11/15/21 Page 6 of 11 Page ID
                               #:149719



                             ATTACHMENT B
Counsel for Appellee J-M Manufacturing Company, Inc.
DAVID BERNICK
David.bernick@kirkland.com
KIRKLAND & ELLIS
601 Lexington Avenue
New York, NY 10022
Telephone: (212) 446-4800

EKWAN E. RHOW
erhow@birdmarella.com
PAUL S. CHAN
pchan@birdmarella.com
MARC E. MASTERS
mmasters@birdmarella.com
BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
DROOKS, LINCENBERG & RHOW, P.C.
1875 Century Park East, 23rd Floor
Los Angeles, California 90067-2561
Telephone: (310) 201-2100
Facsimile: (310) 201-2110




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                              ATTACHMENT C
Counsel for Appellant Commonwealth of Virginia
ERIN ASHWELL, Chief Deputy Attorney General of Virginia
PETER BROADBENT, Assistant Attorney General
PBroadbent@oag.state.va.us
OFFICE OF THE ATTORNEY GENERAL
COMMONWEALTH OF VIRGINIA
202 North Ninth Street
Richmond, VA 23219
Telephone: (804) 786-6055
Facsimile: (804) 786-1991

ELIZABETH J. SHER
esher@daypitney.com
DAY PITNEY LLP
1 Jefferson Road
Parsippany, New Jersey 07054
Telephone: (973) 966-6300
Facsimile: (973) 966-1015

ERIC R. HAVIAN
ehavian@constantinecannon.com
HARRY P. LITMAN
hlitman@verizon.net
CONSTANTINE CANNON LLP
150 California Street, Suite 1600
San Francisco, California 94111
Telephone: (415) 639-4001
Facsimile: (415) 639-4002

KIRK DILLMAN
kdillman@mckoolsmithhennigan.com
McKOOL SMITH HENNIGAN P.C.
One California Plaza
300 South Grand Avenue, Suite 2900
Los Angeles, CA 90071
Telephone: (213) 694-1200
Facsimile: (213) 694-1234

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Case5:06-cv-00055-GW-PJW
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    ELIZABETH J. SHER (Admitted Pro Hac Vice)
    esher@daypitney.com
    DAY PITNEY LLP
    1 Jefferson Road
    Parsippany, New Jersey 07054
    Telephone: (973) 966-6300
    Facsimile: (973) 966-1015

    Attorneys for Relator, Commonwealth of Virginia,
    Calleguas Municipal Water District, Palmdale Water District,
    and South Tahoe Public Utility District
    (AND OTHER PARTIES/ATTORNEYS AS LISTED ON THE DOCKET)

                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
    UNITED STATES, THE STATES OF         Case No. EDCV 06-0055-GW-PJWx
    CALIFORNIA, DELAWARE,
    FLORIDA, ILLINOIS, INDIANA,          Hon. George H. Wu
    NEVADA, NEW MEXICO, NEW
    YORK, and TENNESSEE, THE
    COMMONWEALTHS OF                     FINAL JUDGMENT
    MASSACHUSETTS AND
    VIRGINIA, and THE DISTRICT OF
    COLUMBIA ex rel. JOHN
    HENDRIX,                             Date: October 6, 2021
                                         Time: 9:30 a.m.
                     Plaintiffs,         Location: Courtroom 9D
          v.

    J-M MANUFACTURING
    COMPANY, INC., d/b/a JM Eagle, a
    Delaware corporation, and FORMOSA
    PLASTICS CORPORATION, U.S.A.,
    a Delaware corporation,
                     Defendants.
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Case5:06-cv-00055-GW-PJW
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                                              10/15/21 Page
                                                       Page92of
                                                             of11
                                                                4 Page
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                               #:149691
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    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
          WHEREAS, this matter began by way of a qui tam and False Claims Act
    (“FCA”) complaint filed under seal on behalf of the United States of America, the
    States of California, Delaware, Florida, Nevada, and Tennessee, and the
    Commonwealths of Massachusetts and Virginia by relator John Hendrix against J-M
    Manufacturing Company, Inc. (“J-M”) and Formosa Plastics Corporation, U.S.A.
    (“Formosa Plastics”) on January 17, 2006 (ECF No. 1); and
          WHEREAS, the seal was lifted, and real parties were allowed to intervene as
    of February 4, 2010; and
          WHEREAS, the Court bifurcated the proceeding as to the elements of falsity,
    materiality, and scienter on the one hand, and damages on the other, on December 7,
    2011 (ECF No. 551); and
          WHEREAS, the operative Fifth Amended Complaint was filed on December
    27, 2011 (ECF No. 568); and
          WHEREAS, Calleguas Municipal Water District, the Commonwealth of
    Virginia for the City of Norfolk, Palmdale Water District, South Tahoe Public Utility
    District, and the State of Nevada for the City of Reno were designated as “Exemplar
    Plaintiffs” as of December 22, 2011, for purposes of a Phase One liability trial and
    also potentially for a Phase Two trial as to “actual damages” and civil penalties under
    the applicable state FCA statutes (ECF No. 566); and
          WHEREAS, the claims of the remaining intervened plaintiffs and real parties
    in interest were stayed pending entry of final judgment on the Exemplar Plaintiffs’
    claims; and
          WHEREAS, Plaintiffs, Relator John Hendrix, and Formosa Plastics reached a
    “global settlement” on July 16, 2013 (ECF No. 1742), which was approved by the



                                             -1-
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 Case5:06-cv-00055-GW-PJW
      5:06-cv-00055-GW-PJW Document
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                                                 10/15/21 Page
                                                           Page10
                                                                3 of 4
                                                                     11 Page
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                                 #:149692
                                 #:149723



     Court on January 16, 2014 (ECF Nos. 1839, 1846), and Formosa Plastics was
     dismissed from this case with prejudice; and
           WHEREAS, the Phase One trial on the elements of falsity, materiality, and
     scienter as they related to Exemplar Plaintiffs’ claims took place from September 13,
     2013 to November 14, 2013, resulting in a unanimous jury verdict on all claims of the
     Exemplar Plaintiffs (the “Phase One Verdict”); and
           WHEREAS, the Phase Two jury trial on the Exemplar Plaintiffs’ actual
     damages claims took place from October 9, 2018 through November 14, 2018,
     resulting in a mistrial due to a hung jury, as the jury was unable to agree on any award
     of actual damages; and
           WHEREAS, during the Phase Two trial, the parties agreed that the issue of
     statutory damages/civil penalties would be tried to the Court; such matter was decided
     by the Court thereafter (ECF No. 2904); and the Court issued an award as to civil
     penalties as indicated, infra; and
           WHEREAS, J-M filed a renewed motion for judgment as a matter of law on
     December 12, 2018, inter alia, as to the issue of actual damages (ECF No. 2809); and
     the Court granted that motion on June 5, 2020 concluding that “Plaintiffs failed to
     provide evidence at the Phase Two trial from which a reasonable jury could make a
     finding of an award of actual damages under the FCA that would not be erroneous as
     a matter of law, be totally unfounded and/or be purely speculative” (ECF No. 2880);
            And good cause appearing therefore;
           IT IS HEREBY ADJUDGED AND ORDERED THAT:
           (1) Final Judgment is awarded to the Exemplar Plaintiffs (and the Relator John
     Hendrix, but only insofar as to his involvement with the Exemplar Plaintiffs’ claims,
     if any) against Defendant J-M Manufacturing Company, Inc. based upon the Phase
     One Verdict and the award of civil penalties, as follows: $6,000 to Calleguas


                                               -2-
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 Case5:06-cv-00055-GW-PJW
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                                           Filed11/15/21
                                                 10/15/21 Page
                                                           Page11
                                                                4 of 4
                                                                     11 Page
                                                                         PageIDID
                                 #:149693
                                 #:149724



     Municipal Water District; $48,000 to Palmdale Water District; $78,000 to South
     Tahoe Public Utilities District; $16,000 to the Commonwealth of Virginia for the City
     of Norfolk; and $14,000 to the State of Nevada for the City of Reno; and
           (2) This Judgment is deemed final as to the Exemplar Plaintiffs (and the
     Relator John Hendrix, but only insofar as to his involvement with the Exemplar
     Plaintiffs’ claims, if any) pursuant to Fed. R. Civ. P. 54(b), there being no just reason
     for delay inasmuch as the Court wishes to have the Ninth Circuit’s determinations as
     to decisions already made in the lawsuit before proceeding to adjudicate the claims of
     the remainder of the plaintiffs; and
           (3) the Exemplar Plaintiffs’ application for attorney’s fees and costs related to
     obtaining and defending the Jury Verdict is hereby stayed and will be due no earlier
     than 90 days after the Ninth Circuit issues its ruling on any appeal that is taken from
     this Final Judgment.


     IT IS SO ORDERED.


     DATE: October 14, 2021                  _______________________________
                                                  Honorable George H. Wu
                                             UNITED STATES DISTRICT JUDGE




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